ORIGINAL

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 18-00153-01-CR-W-RK
JOEL; TUCKER,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office for
the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Timothy A. Garrison, United States Attorney, and Kathleen D. Mahoney,
Assistant United States Attorney, and the defendant, Joel Tucker (“the defendant”), represented
by J.R. Hobbs and Marilyn Keller.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to:
Count One of the Superseding Indictment charging him with a violation of 18 U.S.C. § 2314, that
is, Interstate Transportation of Stolen Money; Count Fourteen of the Superseding Indictment

charging him with a violation of 18 U.S.C. § 157, that is, Bankruptcy Fraud; and Count Sixteen of

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the Superseding Indictment charging him with a violation of 26 U.S.C. § 7201, that is, Tax
Evasion. The defendant also agrees to forfeit to the United States $5,000, which he admits is
proceeds traceable to the offense alleged in Count One. By entering into this plea agreement, the
defendant admits that he knowingly committed these offenses, and is in fact guilty of these

offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the offenses

to which he is pleading guilty are as follows:

Defendant Joel Jerome Tucker was a resident of Johnson County, Kansas, and owned
businesses in Missouri, Kansas, Colorado, and Wyoming.

Beginning in at least 2002 and continuing through 2012, Joel Tucker, working through
various companies, serviced payday loan businesses. Tucker’s company names changed over the
years; the primary company would become eData Solutions, LLC (eData). eData, formally
registered on July 29, 2009, did not make loans directly to borrowers; it collected loan application
information, referred to as leads, and sold those leads to its approximately 70 payday lender clients.
As a loan servicer, eData also provided software for payday lenders.

From 2014 to 2016, Joel Tucker, operating under multiple businesses and business bank
accounts, engaged in two related schemes to defraud: a sale of fraudulent debt scheme and a
bankruptcy fraud scheme. In the sale of fraudulent debt scheme, Tucker defrauded third party debt
collectors and millions of individuals listed as debtors through the sale of falsified debt portfolios.
These portfolios were false in that Tucker did not have chain of title to the debt, the loans were not
necessarily true debts, and the dates, amounts, and lenders were inaccurate and in some cases
fictional. In his bankruptcy fraud scheme, Tucker also sold fraudulent debt, which entered the
United States Bankruptcy Courts nationwide, and then made false statements and presented false
information to the Bankruptcy Court and violated court orders to conceal his sales of fake debt.

Tucker used the companies Alloy Data Systems, Graywave Capital Management LLC
(Graywave), HPD LLC, JT Holdings Inc., KSQ Management LLC (KSQ), and SQ Capital LLC
to sell the debt. Tucker sometimes sold the debt through debt brokers or other intermediaries.

On November 17, 2011, Tucker opened a business bank account in the name
KSQ Management, LLC at Bank of the West, account number ending 2331. Tucker was identified
as the president and was the sole authorized signer on the account.

On February 5, 2016, SafeLock PC LLC, a company formed under Wyoming laws, was
registered to do business in Missouri. Tucker identified himself as CEO of SafeLock, solicited
investments on behalf of SafeLock, and signed a commercial lease for office space in Kansas City,
Missouri, on behalf of SafeLock as a partner.

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For tax years 2014 - 2016, neither Tucker personally nor any of his companies filed federal
tax returns with the Internal Revenue Service, including:
Graywave Capital Management
HPL LLC
JT Holdings Inc.
KSQ Management LLC
5Q Capital LLC

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PURPOSE OF THE SCHEMES TO DEFRAUD

Between 2014 and continuing into 2016, Tucker executed a fraudulent debt scheme by
marketing, distributing, and selling false debt portfolios that purported to represent valid due and
owing payday loans made by a variety of purported lenders, including “500FastCash” and “Castle
Peak.” Tucker sold supposed debts which: 1) he didn’t personally own; 2) were not true debts; 3)
had already been sold to other buyers; and 4) contained false lenders, false loan dates, false loan
amounts, and false payment status. Tucker received approximately $4 million to 7.3 million from
the sale of false debt portfolios. The purpose of Tucker’s scheme was to fraudulently obtain money
for his own use and gain. As part of his fraud scheme, Tucker transferred the proceeds of the fraud
scheme across state lines, as delineated below.

In 2015, Tucker executed a related bankruptcy fraud scheme in which he marketed,
distributed, and sold false debt portfolios though a debt broker to bankruptcy debt collectors.
Tucker sold supposed debts which: 1) he didn’t own; 2) were not true debts; 3) had already been
sold to other buyers; and 4) contained a false lender name, false loan dates, false loan amounts,
and false payment status, for his financial use and gain. When the United States Bankruptcy Court
investigated these purported debts which were presented as claims in bankruptcy cases, Tucker
provided false information and testimony to the Bankruptcy Court in order to conceal his scheme.

SALE OF FRAUDULENT DEBT SCHEME

On August 1, 2012, President Obama signed a law referred to as Operation Chokepoint,
which resulted in banks refusing to make Automated Clearinghouse withdrawals from their
customers’ bank accounts associated with payday lenders, which greatly reduced the profitability
of payday loans. Many payday lenders went out of business after Operation Chokepoint.

On June 20, 2012, Tucker and the other owners of eData sold the company to the
Wyandotte Indian tribe. By the terms of the sale agreement, Tucker did not retain ownership or
chain of title to any payday loans made by eData’s clients.

However, despite selling his interest in eData, Tucker maintained a file of 7.8 million leads
(‘7.8 file’) he had acquired through eData, containing detailed customer information including
names, addresses, bank accounts, social security numbers, dates of birth, etc. Tucker’s company
eData collected the detailed customer information from online payday loan applications or
inquiries to its payday lender clients. The 7.8 file did not represent loans, as loans would have
been made by the various payday lenders. The 7.8 file contained listed customers, some of whom

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withdrew their requests for loans, some of whom were denied loans, some of whom obtained loans
and repaid them, and some of whom obtained loans and defaulted in the payments.

In addition, Tucker obtained and retained data regarding defaulted payday loans eData had
acquired from a number of different payday lender clients. The data for the defaulted payday loans
were stored in “iCollect” files. The iCollect files did not include the actual loan origination
documents as those documents were retained by the payday lender clients. Notwithstanding that
Tucker did not have chain of title to these iCollect files, he proceeded to package, market, and sell
this information as collectible debt to multiple debt buyers through 2014 and 2015.

Tucker, for the purpose of executing the scheme to defraud, often used intermediaries and
debt brokers to recruit debt buyers by presenting to potential buyers that he owned the debt he was
marketing, that it was legitimate debt and/or that it had not been sold to other debt buyers. Tucker
well knew that the representations to be made by the debt brokers and intermediaries were false at
the time they were made.

On or about July 22, 2014, Tucker created a fraudulent contract between seller Black
Creek LLC, supposedly representing 500FastCash, and buyer SQ Capital LLC, Tucker's
company. The contract purported to sell charged-off payday loan accounts from Black Creek LLC
to SQ Capital LLC, with an unpaid balance due of $94,999,140, for $1,274,984.18. Black Creek
LLC did not own 500FastCash loans. 500FastCash and related payday lenders such as Ameriloan,
AdvantageCashServices, AceCashServices, etc., were associated with Tucker’s brother Scott
Tucker and serviced by AMG Services, Inc. Tucker created and used this fraudulent Black Creek
LLC contract to make it appear as though he owned the payday loan debt.

Through SQ Capital and other companies, Tucker sold payday loan debt he did not own to
multiple entities, including: debt broker United Debt Holdings; STP Management Group; Delray
Capital, LLC; Bayview Solutions, LLC; Solutions Software, CHM Capital Group LLC; Aura
Development, Inc.; Ashton Asset Management; and others.

Tucker, either directly or through a debt broker, represented that he owned the debt. Tucker
sold the debt in the form of spreadsheets created from his 7.8 file and the iCollect files. The
spreadsheets, also called debt portfolios, contained customer names, dates of birth, addresses,
phone numbers, bank accounts, email addresses, employers, and references. Most of this
information was accurate and allowed the debt purchasers to contact the customers and attempt to
collect the debt. Thus, Tucker placed in the hands of debt collectors the means through which they
could mislead customers regarding their debt obligations. Some customers actually paid the debt
collectors out of fear or confusion about what they owed.

The spreadsheets Tucker sold to debt purchasers also contained loan information. The loan
information was often false, listing false lenders, false loan amounts, false past due amounts, and

false loan dates.

Tucker sold the same sets of debts to multiple purchasers, materially failing to disclose to
purchasers that he had previously sold the same debt.

Beginning in September 2014, AMG sent cease and desist letters to debt buyers such as
Delaware Solutions and Clear Credit Solutions, who had bought fake debt from Tucker or his

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intermediaries, and then attempted to collect from customers and non-customers alike, for
purported payday loan debt serviced by AMG. Notwithstanding the cease and desist letters,
Tucker continued to sell payday loan debt he did not own through late 2014 and all of 2015.

On December 16, 2016, the Federal Trade Commission (FTC) filed a civil suit against
Tucker and three of his companies, SQ Capital, LLC, JT Holdings, Inc., and HPD LLC, in the
District of Kansas, case number 16-CV-02816, for misleading consumers through unfair
collections practices, including the sale of false debt portfolios. Tucker represented himself in this
lawsuit, and on or about March 15, 2017, he emailed the FTC an accounting of his ownership of
the payday loan debt, stating, “I do not have the chain of title in my possession. The Wyandotte
Indian Tribe has it held their records. I do not have any rights to the chain of title for any
transactions with SQ Capital, JT Holdings, or HPD.”

BANKRUPTCY FRAUD SCHEME

In 2015, Tucker sold false debt portfolios to First Source Data (FSD), owned by
Jeffrey Brooks, a debt broker. FSD brokered the debt to Porania LLC, a bankruptcy debt
purchaser. A bankruptcy debt purchaser specializes in buying debt in which the debtors have
filed for bankruptcy. The debt purchaser then files claims in Bankruptcy Chapter 7 and Chapter 13
cases throughout the country. Through this business model, bankruptcy debt purchasers collect a
portion of the debts when the bankruptcy trustees sell assets or collect payments from debtors.

Tucker caused to be created the debt portfolios he sold using his 7.8 file of payday loan
leads and the iCollect files. He did not have title to the debt he sold to FSD. He provided two debt
portfolios (spreadsheets), the first named “JB 11-18-2015_Revised1 xlsx” that listed 8,775 debtors
who had filed for bankruptcy, including the district of their bankruptey and the name of the
bankruptcy trustee. The second spreadsheet, named “FSD 12-10-2015.xls,” listed 5,628 debtors
who had filed for bankruptcy. Approximately seventy of the listed debtors in the two spreadsheets
were in bankruptcy in the Western District of Missouri. The spreadsheets contained false
information, including that the listed consumer had received a loan, was in default on the loan, and
the dates of the loans. Tucker caused to be listed the lender of all the debt he sold to FSD as
“Castle Peak.” This was fictional; Castle Peak was not a payday lender or servicer. Tucker caused
to be listed the loan amount for each debtor as $300, and the financing charge as $90; he thus
represented each debtor owed $390. These amounts were also fictional.

Tucker sold the above-mentioned spreadsheets to FSD in two installments, the first for
$30,000 on November 27, 2015, the second for $12,500 on December 16, 2015. In connection
with the debt sale, on December 11, 2015, Tucker provided “sample media” to FSD, which FSD
in turn provided to Porania. The sample media, approximately ten loan origination notes, like the
debt, was fictional. On all notes, the lender was represented to be Castle Peak, the loan amount
was $300, the financing charge was $90, and the customer signatures were forged.

Through FSD, Porania bought Tucker’s false debt portfolios, and sold some to Atlas
Acquisitions LLC, another bankruptcy purchaser, in December 2015. When Porania and Atlas
bought the debt, they filed claims in over a thousand pending bankruptcy cases throughout the
country, including in the Western District of Missouri.

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In early 2016, bankruptcy trustees throughout the country disputed filed claims on the
“Castle Peak” payday loans in the amount owing of $390. On January 11, 2016, Brooks, as FSD,
forwarded an email he had received to Tucker which stated, “Jeff — can you please mark this as
“urgent”. We have several Trustees inquiring about these accounts.” Brooks added to the
forwarded email, addressing Tucker, “You have the other media requests as well correct?” Also
on January 11, 2016, Tucker responded to Brooks, “I am trying my best to get them.”

On February 5, 2016, the Honorable Marvin Isgur, a United States Bankruptcy Judge in
Houston, Texas, the Southern District of Texas, opened a Miscellaneous Case, No. 16-302, to
investigate the source of over a thousand proofs of $390 “Castle Peak” claims filed in bankruptcy
courts across the United States, specifically referencing 26 claims pending in the Southern District
of Texas.

Judge Isgur found that Tucker or an entity controlled by him transferred the $390 claims
to debt collectors. On March 3, 2016, Judge Isgur ordered Tucker to appear as a witness in the
bankruptcy court on March 21, 2016, and to produce documents regarding the filing of proofs of
claim.

On March 19, 2016, Tucker received an email from a colleague referring to the 26 claims
in Judge Isgur’s order, which stated, “Attached is the new spreadsheet of the 18 SSN’s and the
information found in the eData tables. If they were found in the iCollect table, that information is
also exported. You will see duplicate customers but in different funding companies. Many were
not funded and were either withdrawn or denied but I pulled all the app data for them.”

Tucker appeared before Judge Isgur in Houston on April 4, 2016, but produced no
documents. Tucker testified, “it’s taking me more time to go back and go through all those pieces
of documentation and also find the media attached with those files.” Judge Isgur ordered Tucker
taken into custody, but Tucker claimed he could only produce the documents by travelling to
Kansas City and Colorado. Judge Isgur released Tucker on the condition he produce the ordered
documents and that Tucker notify the trustee and parties before accessing any documents in Kansas
City or Colorado.

Tucker violated Judge Isgur’s order in that he accessed and caused to be accessed,
documents in Kansas City, Missouri, without giving notice to the trustee or parties. Specifically,
on April 9, 2016, Tucker caused another person to access a spreadsheet called
“icollectmasterfull.xlsx” which was then downloaded to Tucker’s virtual server. Further, on
April 11, 2016, Tucker caused another person to access spreadsheets “Filel_JT.xlsx,”
“File2 JT.xlsx,” “File3_JT.xlsx,” “File4_JT.xlsx.” These spreadsheets all related to the
bankruptcy debt Tucker sold to FSD.

In Kansas City, Missouri, Tucker caused to be created a spreadsheet responsive to
Judge Isgur’s order that he provide loan documentation for 26 debtors in the Southern District of
Texas. On April 28, 2016, Tucker presented to the court a spreadsheet labeled “Tucker027983”
which contained false information, including a loan amount of $300 for all debtors, a total balance

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due of $390 for all debtors, and the lender, which he listed as “Castle Peak” for two debtors. On
March 24, 2016, Tucker had received an email from a colleague informing him that at least 8 of
the 26 debtors had no loan information. Tucker nevertheless presented to the court loan
information on the spreadsheet as though all 26 debtors had received loans and defaulted.

At the hearing on April 28, 2016, Tucker testified before Judge Isgur. Some of his false
statements, identified by transcript page number, include:

a. Q: “Where did these (sample loan documents) come from?” Tucker: “These are
generated through the loan management software system Judge.” Q: “That who owns?” Tucker:
“That I do.” Page 80.

b. Tucker: “Castle Peak was a client of ours and we knew that that loan note was the
one they used, yeah.” Page 81.

&. Q: “So you thought all of these people had borrowed $300 from Castle Peak?”
Tucker: “Right.” Page 83.

d. Q: “So, Mr. Tucker, when did you reclaim ownership of the 2,000,000 debt files
or claims?” Tucker: “April of - - April Sth of 2014.” Page 109,

€. Tucker: “I mean I believe Castle Peak was one of the issuers.” Pages 116-17.

f. Tucker: “Yeah, Castle Peak was one - - the issuer. Yes, one of the issuers, yes.”
Page 140.

g. Q: “At the time that First Source sold the claims that you transferred to First Source

to Porania, you thought that Castle Peak was the sole issuer of those claims; is that correct?”

Tucker: “One of the issuers, yes. The sole issuer, yes.” Page 142.
h. Q: “why did you email Mr. Brooks with the Castle Peak information?”

Tucker: ‘Well, that was one of the lenders. That’s a lender.” Page 166.

After the April 28 hearing, Judge Isgur found that Tucker gave “incredible testimony” and
ordered that a forensic computer examiner be appointed to obtain computers and files showing the
originating lenders of the $390 claims, and to obtain Tucker’s communications, in addition to
completing other tasks.

On June 29, 2016, Judge Isgur ordered Tucker to file with the court a declaration as to how
he prepared the document “Tucker027983”. On July 8, 2016, Tucker filed a sworn declaration
with the Bankruptcy Court listing the steps he took to personally prepare the spreadsheet in Kansas
City, Missouri. The declaration was false, in that Tucker had another person prepare the
spreadsheet and some of the information on the spreadsheet was not obtained from data in his files
or electronic documents as he stated in the declaration, but was fictional.

Tucker testified before Judge Isgur again at a hearing October 11, 2016.

Q: “Do you have an understanding of why Castle Peak is identified as the issuer of those
loans?” Tucker: “Yeah, that was the mask - - the masked name for the file that was sent over.”
Q: “What did Castle Peak do?” Tucker: “Castle Peak was a - - was a processing - - part of our
processing - - I mean, more of the call center management business.” Page 101.

Tucker also testified at the October 11, 2016, hearing that: no documents or authority
provided him with ownership of the payday loans he sold; the $390 loan amounts were not based

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on facts; and he had no method of determining whether he sold loans multiple times.
COUNT ONE

On or about September 19, 2014, in the Western District of Missouri and elsewhere, as a
result of the scheme to sell fake debt, defendant Joel Jerome Tucker caused to be transferred in
interstate commerce between KSQ Bank of the West acct. no. 2331 and Commerce Bank in Kansas
City, Missouri, $5,000, knowing at the time that the same had been obtained and taken by fraud,
that is, money paid to purchase falsified debt portfolios which Tucker did not own, which
purchases were made in reliance on the false and fraudulent material representations and omissions
by defendant as set forth above, the factual allegations of which are incorporated by reference as
if fully set forth herein, and from which proceeds funds were disbursed.

COUNT FOURTEEN

Between on or about February 5, 2016, through on or about October 11, 2016, in the
Western District of Missouri and elsewhere, Joel Jerome Tucker, with the intent to defraud and
having devised or intending to devise a scheme or artifice to defraud and for the purpose of
executing or concealing such scheme or artifice, made material false statements to, and violated
court orders of, the United States Bankruptcy Court in the Southern District of Texas in
miscellaneous case number 16-302, as detailed above.

COUNT SIXTEEN

From on or about May 6, 2014, to on or about the date of this superseding indictment, in
the Western District of Missouri and elsewhere, Joel Jerome Tucker, did willfully attempt to evade
and defeat income tax due and owing by him to the United States of America for the calendar years
2007-2008, by: 1) in August 2016, telling an IRS revenue agent that he had no income and was
living on borrowed funds; 2) submitting a false Form 433-A on August 31, 2016, by materially
omitting an asset, which was his membership in the Vail Mountain Club for which he received
$275,000 on September 26, 2016; 3) in July 2017, telling an IRS revenue agent that he had no
income and was borrowing a lot of money from his mother; 4) failing to make payments for taxes
owed the IRS with money he had available from May 2014 through 2017; 5) using nominee bank
accounts to conceal income and assets; 6) spending hundreds of thousands of dollars in personal
living expenses such as vehicles, chartered jets, travel and entertainment, and a personal residence;
and 7) by concealing and attempting to conceal from all proper officers of the United States of
America his true financial condition.

The defendant admits that $5,000 for the forfeiture allegation was derived from proceeds
he obtained from Count One. The defendant agrees to pay $8,057,079.95 in restitution as due and
owing the United States, and agrees to waive the time period to being enforcement on behalf of

the IRS.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

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agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. §1B1.3(a)(2). The defendant
acknowledges, understands and agrees that the conduct charged in any dismissed counts of the
superseding indictment as well as all other uncharged related criminal activity may be considered
as “relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the
charges to which he is pleading guilty.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to Count
One of the Superseding Indictment charging him with Interstate Transportation of Stolen Property,
the maximum penalty the Court may impose is not more than ten years of imprisonment, a
$250,000 fine, three years of supervised release, and an order of restitution. This offense is a Class
C felony. Upon his plea of guilty to Count Fourteen of the Superseding Indictment charging him
with Bankruptcy Fraud, the maximum penalty the Court may impose is not more than five years
of imprisonment, a $250,000 fine, and three years of supervised release. This offense is a Class D
felony. Upon his plea of guilty to Count Sixteen of the Superseding Indictment charging him with
Tax Evasion, the maximum penalty the Court may impose is not more than five years of
imprisonment, a $100,000 fine, and three years of supervised release. This offense is a Class D
felony. A $100 mandatory special assessment per felony count of conviction must be paid in full
at the time of sentencing.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the
following:

a. in determining the appropriate sentence, the Court will consult and

consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the

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Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court may impose a term
of supervised release of up three years; that the Court must impose a period of
supervised release if a sentence of imprisonment of more than one year is imposed;

d. if the defendant violates a condition of his supervised release, the Court
may revoke his supervised release and impose an additional period of
imprisonment of up to two years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed three
years, less the term of imprisonment imposed upon revocation of the defendant's
first supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f. any sentence of imprisonment imposed by the Court will not allow for
parole;

g. the Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

i. The defendant agrees that the United States may institute civil, judicial
or administrative forfeiture proceedings against all forfeitable assets in which the
defendant has an interest, and that he will not contest any such forfeiture
proceedings.

j. The defendant agrees to forfeit all interests he owns or over which he
exercises control, directly or indirectly, in any asset that is subject to forfeiture to
the United States either directly or as a substitute for property that was subject to
forfeiture but is no longer available for the reasons set forth in 21 U.S.C. § 853(p)
(which is applicable to this action pursuant to 18 U.S.C. §§ 981(a)(1)(C) and
982(a)(2)(A). With respect to any asset which the defendant has agreed to forfeit,
the defendant waives any constitutional and statutory challenges in any manner
(including direct appeal, habeas corpus, or any other means) to any forfeiture

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carried out in accordance with this plea agreement on any grounds, including that
the forfeiture constitutes an excessive fine or punishment under the Eighth
Amendment to the United States Constitution.

k. The defendant agrees to fully and truthfully disclose the existence, nature
and location of all assets forfeitable to the United States, either directly or as a
substitute asset, in which he had any direct or indirect financial interest, or exercise
or exercised control, directly or indirectly, during the period from 2014 to the
present. The defendant also agrees to fully and completely assist the United States
in the recovery and forfeiture of all such forfeitable assets.

l. The defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before his sentencing.

m. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that the

United States will use the financial information when making its recommendation
to the Court regarding the defendant’s acceptance of responsibility.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against defendant for any federal criminal offenses
related to the superseding indictment for which it has venue and which arose out of the defendant’s
conduct described above. Additionally, the United States Attorney for the Western District of
Missouri agrees to dismiss Counts Two — Thirteen and Fifteen of the Superseding Indictment at
sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity

of which the United States Attorney for the Western District of Missouri has no knowledge.

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The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation
of the dismissed or additional charges against him if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional
charges are initiated against him following a breach of this agreement. The defendant further
understands and agrees that if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States will
provide to the Court and the United States Probation Office a government version of the offense
conduct. This may include information concerning the background, character, and conduct of the
defendant, including the entirety of his criminal activities. The defendant understands these
disclosures are not limited to the counts to which he has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant's plea of guilty and

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its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his pleas of guilty only if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”:

b. The parties may argue the offense level for Counts One and Fourteen
and any applicable enhancements or reductions. The United States will argue that
the offense level for Counts One and Fourteen is 32 based upon a loss of $3.5 - $9.5
million, plus a two-level enhancement for number of victims pursuant to
§ 2B1.1(9), plus a two-level enhancement for misrepresentation in bankruptcy
applies pursuant to § 2B1.1(9), plus a two-level enhancement for sophisticated
means applies pursuant to § 2B1.1(10), plus a two-level enhancement for role in
the offense pursuant to § 3B1.1(c);

c. The parties may argue the offense level for Count Sixteen and any
applicable enhancements or reductions. The United States will argue the offense
level for Count Sixteen is 28 based upon a tax loss of $8,057,079.95 pursuant to §
2T1.1, plus a two-level enhancement for income from criminal activity pursuant to
§ 2T1.1(b)(1); plus a two-level enhancement for sophisticated means pursuant to §

2T1.1(b)(2);

d. Either party may request a departure or variance from the advisory
Sentencing Guidelines range;

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e. The defendant has admitted his guilt and clearly accepted responsibility
for his actions, and has assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention to enter a plea of
guilty, thereby permitting the Government to avoid preparing for trial and
permitting the Government and the Court to allocate their resources efficiently.
Therefore, he is entitled to a three-level reduction pursuant to § 3E1.1(b) of the
Sentencing Guidelines, unless the defendant (1) fails to abide by all of the terms
and conditions of this plea agreement and his pretrial release: or (2) attempts to
withdraw his guilty pleas, violates the law, or otherwise engages in conduct
inconsistent with his acceptance of responsibility;

f. The parties agree that the Court will determine his applicable criminal
history category after receipt of the presentence investigation report prepared by
the United States Probation Office;

g. The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

h. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
areasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the superseding indictment. The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay;

i. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that he will
make during his plea colloquy, support the imposition of the agreed-upon

Guidelines calculations contained in this agreement;

j. The United States agrees that defendant may remain on bond pending
sentencing assuming he is in compliance with the terms of pre-trial supervision.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

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Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the plea
agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charges in the superseding
indictment;

¢. Oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or other
relief,

14. Waiver of Constitutional Rights. The defendant, by pleading guilty, acknowledges
that he has been advised of, understands, and knowingly and voluntarily waives the following
rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

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b. the right to be presumed innocent until his guilt has been established
beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective assistance
of counsel;

d. the right to confront and cross-examine the witnesses who testify against
him;

e. the right to compel or subpoena witnesses to appear on his behalf; and

f. the right to remain silent at trial, in which case his silence may not be
used against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask him questions about the offense or offenses to which he pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, his answers may
later be used against him in a prosecution for perjury or making a false statement. The defendant
also understands he has pleaded guilty to a felony offense and, as a result, will lose his right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or
register to vote, hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading

guilty pursuant to this plea agreement he waives his right to appeal or collaterally

attack a finding of guilt following the acceptance of this plea agreement, except on

grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b. The defendant expressly waives his right to appeal his sentence, directly

or collaterally, on any ground except claims of (1) ineffective assistance of counsel;

(2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal sentence”

includes a sentence imposed in excess of the statutory maximum, but does not

include less serious sentencing errors, such as a misapplication of the Sentencing

Guidelines, an abuse of discretion, or the imposition of an unreasonable sentence.

However, if the United States exercises its right to appeal the sentence imposed as

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authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
may, as part of the Government’s appeal, cross-appeal his sentence as authorized
by 18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to
or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant represents
that he understands and agrees to the following financial obligations:

a. The Court may order restitution. The parties agree that the Court will
order restitution to the Internal Revenue Service in the total amount of
$8,057,079.95, pursuant to 18 U.S.C. 3663(a)(3). Defendant understands and
agrees that this figure does not include all interest under 26 U.S.C. § 6601, which
will be assessed by the IRS pursuant to Title 26.

b. Defendant agrees that restitution is due and payable immediately after
the judgment is entered and is subject to immediate enforcement, in full, by the
United States. Ifthe Court imposes a schedule of payments, Defendant agrees that
the schedule of payments is a schedule of the minimum payment due, and that the
payment schedule does not prohibit or limit the methods by which the United States
may immediately enforce the judgment in full.

c. The IRS will use the amount of restitution ordered as the basis for a civil
assessment under 26 U.S.C. § 6201(a)(4). Defendant does not have the right to
challenge the amount of this restitution-based assessment. See 26 U.S.C.
§ 6201(a)(4)(C). Neither the existence of a restitution payment schedule nor
Defendant’s timely payment of restitution according to that schedule will preclude
the IRS from immediately collecting the full amount of the restitution-based
assessment. Interest on the restitution-based assessment will accrue under
26 U.S.C. § 6601 from the last date prescribed for payment of the tax liability that
is the subject of the restitution-based assessment to the date that the IRS receives
full payment.

d. Defendant is entitled to receive credit for restitution paid pursuant to this
plea agreement against those assessed civil tax liabilities due and owing for the
same periods for which restitution was ordered. Defendant understands and agrees
that the plea agreement does not resolve the Defendant's civil tax liabilities; that
the IRS may seek additional taxes, interest, and penalties from Defendant relating
to the conduct covered by this plea agreement and for conduct relating to another
time period, and that satisfaction of the restitution debt does not settle, satisfy, or
compromise Defendant’s obligation to pay any remaining civil tax liability.
Defendant authorizes release of information to the IRS for purposes of making the
civil tax and restitution-based assessments.

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e. Defendant understands that he is not entitled to credit with the IRS for
any payment until the payment is received by the IRS.

f. If full payment cannot be made immediately, Defendant agrees to make
a complete and accurate financial disclosure to the IRS on forms prescribed by the
IRS (including, but not limited to, IRS Form 433-A and Form 433-B, as
appropriate), and to disclose to the IRS any and all additional financial information
and financial statements provided to the probation office. Defendant also agrees to
provide the above-described information to the probation office.

g. If Defendant makes a payment of the restitution prior to sentencing, the
payment will be applied as a credit against the restitution ordered.

h. The United States may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

i. With each payment to the Clerk of the Court made pursuant to the District
Court’s restitution order, defendant will provide the following information:

Defendant’s name and Social Security number;

The District Court docket number assigned to this case;

Tax year(s) or period(s) for which restitution has been
ordered; and

4, A statement that the payment is being submitted pursuant to
the District Court’s restitution order.

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The Clerk of the Court should send the information along with the payments, to:

IRS — RACS

Attn: Mail Stop 6261, Restitution
333 W. Pershing Ave.

Kansas City, MO 64108

j. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

k. The defendant understands that a Special Assessment will be imposed as
part of the sentence in this case. The defendant promises to pay the Special
Assessment of $300 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

|. The defendant certifies that he has made no transfer of assets or property
for the purpose of (1) evading financial obligations created by this Agreement; (2)

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evading obligations that may be imposed by the Court; nor (3) hindering efforts of
the USAO to enforce such financial obligations. Moreover, the defendant promises
that he will make no such transfers in the future.

m. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars or more, the United
States may at its option: (1) choose to be relieved of its obligations under this plea
agreement; or (2) let the plea agreement stand, collect the full forfeiture, restitution,
and fines imposed by any criminal or civil judgment, and also collect 100% of the
value of any previously undisclosed assets. The defendant agrees not to contest
any collection of such assets. In the event the United States opts to be relieved of
its obligations under this plea agreement, the defendant’s previously entered pleas
of guilty shall remain in effect and cannot be withdrawn.

17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

 

directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department of the United States any records pertaining to the investigation or
prosecution of this case including, without limitation, any records that may be sought under the
Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.,

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims under
the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising
out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

will be released from its obligations under this agreement. The defendant, however, will remain

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bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by him to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by him before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against him in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by him
subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered into

 

this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorneys or any other party to induce him to enter his plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree that
the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. ‘The parties agree that, unless the constitutional

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implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Timothy A. Garrison
United States Attorney

Dated: ee [ 6 /. 27) SEAL DP ge

Kathleén D. Mahoney
Assistant United States Attorney

I have consulted with my attorneys and fully understand all of my rights with respect to the
offenses charged in the superseding indictment. Further, I have consulted with my attorneys and
fully understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorneys. I understand this
plea agreement and [| voluntarily agree to it.

Dated: 7/14/20 wn} a CAD

Joel Tucker a
Defendant

We are defendant Joel Tucker’s attorneys. We have fully explained to him his rights with
respect to the offenses charged in the superseding indictment. Further, we have reviewed with him
the provisions of the Sentencing Guidelines which might apply in this case. We have carefully
reviewed every part of this plea agreement with him. To our knowledge, Joel Tucker’s decision
to enter into this plea agreement is an informed and voluntary one.

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I.R. Hobbs
Attorney for Defendant

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Marilyn Keller |
Attorney for Defendant

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